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 8

 9                            IN THE UNITED STATES DISTRICT COURT

10                                EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                      CASE NO.   2:12-CR-294-TLN
12
                                                    STIPULATION AND ORDER CONTINUING
13   Plaintiff,                                     TRIAL DATE AND MAKING FINDINGS
                                                    REGARDING EXCLUDABLE TIME PURSUANT
14                                                  TO SPEEDY TRIAL ACT
     v.
15
     GREGORY SCOTT BAKER AND
16   DARRELL PATRICK HINZ,

17
     Defendants.
18

19
           On September 25, 2014, the parties in the above-captioned action
20
     appeared before the Court for a trial confirmation hearing/status
21
     conference.
22
           The Court continued the trial date in this case from October 20,
23
     2014 to March 2, 2015 and excluded time under the Speedy Trial Act
24
     from September 25, 2014 to March 2, 2015 pursuant to Local Codes T2
25
     (complexity) and T4 (defense reasonable time to prepare).
26
           As the Court is aware, it has previously concluded that this
27
     case is complex in nature.               It involves various fraud, tax, and money
28


      STIPULATION AND ORDER CONTINUING TRIAL AND
                                                    1
30    MAKING EXCLUDABLE T IME FINDINGS
            Case 2:12-cr-00294-TLN Document 104 Filed 10/17/14 Page 2 of 4

 1 laundering charges, as well as numerous civil forfeiture claims.

 2 Well over 200,000 documents have been produced in discovery.

 3        As to both complexity and time to prepare, the parties stipulate

 4 that within 3 months of the September 25, 2014 hearing, the United

 5 States produced to each defendant tax returns, Quickbook files, and

 6 CPA notes for Darrell Hinz; Quickbook files for Bart Volen; tax

 7 documents for Bart Volen, Greg Baker, and a witness the government

 8 intends to call at trial; tax calculations by a government expert;

 9 and miscellaneous memoranda of interviews.           In addition, on

10 approximately September 2, 2014, the government produced to each

11 defendant a single hard drive which contained (1) an image of an

12 external hard drive that belonged to a witness that the government

13 intends to call at trial, and (2) the image of a laptop computer that

14 belonged to another witness that the government intends to call at

15 trial.      The two images together on the single hard drive amount to

16 approximately 140 gigabytes of information.           The defense needs time

17 to review that and the other material referred to above.

18        The parties further stipulate that the foregoing facts support a

19 continuance of the trial and provide good cause for a finding of

20 excludable time pursuant to the Speedy Trial Act, 18 U.S.C. §             3161.

21 The parties also stipulate that failure to grant the continuance

22 would unreasonably deny defense counsel the reasonable time necessary

23 for effective preparation, and the ends of justice served by a

24 ///

25 ///

26 ///
27 ///

28 ///


     STIPULATION AND ORDER CONTINUING TRIAL AND
                                                  2
30   MAKING EXCLUDABLE T IME FINDINGS
             Case 2:12-cr-00294-TLN Document 104 Filed 10/17/14 Page 3 of 4

 1 continuance outweigh the best interests of the public and the

 2 defendants in a speedy trial.

 3         Mr. Portanova and Mr. Johnson have authorized Assistant U.S.

 4 Attorney Vincent to sign this stipulation for them.

 5         IT IS SO STIPULATED.

 6
     DATED: October _14_, 2014                             /s/ John K. Vincent for _
 7                                                         WILLIAM PORTANOVA
 8                                                         Attorney for Darrell Hinz

 9

10 DATED: October _14_, 2014                               /s/ John K. Vincent for _
                                                           THOMAS A. JOHNSON
11                                                         Attorney for Gregory Baker
12

13
     DATED: OCTOBER _14_, 2014                             /s/ John K. Vincent_____
14                                                         JOHN K. VINCENT
                                                           Assistant U.S. Attorney
15

16

17                                                 ORDER

18         For the reasons set forth above, the Court finds that there is

19 GOOD CAUSE for continuing the trial date in this matter and for

20 excluding the time between September 25, 2014 to March 2, 2015 under

21
     the Speedy Trial Act, Title 18, United States Code, Sections
22
     3161(h)(7)(B)(ii)(complexity, Local Code T2) and 3161(h)(7)(B)(iv)
23
     (defense time to prepare, Local Code T4).               The Court further finds
24

25 that the ends of justice served by granting this continuance outweigh

26 the best interests of the public and the defendants in a speedy
27 ///

28 ///


      STIPULATION AND ORDER CONTINUING TRIAL AND
                                                     3
30    MAKING EXCLUDABLE T IME FINDINGS
              Case 2:12-cr-00294-TLN Document 104 Filed 10/17/14 Page 4 of 4

 1 trial. Title 18, United States Code, Section 3161(h)(7)(A).                    This
 2 matter is set for trial on March 2, 2015 at 9:30 am.

 3
           IT IS SO ORDERED.
 4
     Dated:     October 15, 2014
 5

 6
                                                   Troy L. Nunley
 7                                                 United States District Judge
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      STIPULATION AND ORDER CONTINUING TRIAL AND
                                                      4
30    MAKING EXCLUDABLE T IME FINDINGS
